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IN THE UNITED STATES DISTRICT COWBY__._¢?:B_Q
'FOR THE WESTERN DISTRICT OF 'I'ENNESSEE

 

 

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UIOMAS M. W

THYSSENKRUPP ELEVATOR CLEP|})U.S. DlSTPdcTGBlBT
MANUFACTURING, INC., W OF TN. P.EWHS

Pla.imiff,
v. No. 05-2317 1)/P
MICHAEL R. sUrTON afb/a
DMCELEVATOR.cOM,

Defendant.

CoNSENT lNJuNcrloN

 

Upon joint motion of Plaintiff ThyssenKrupp Elevator Manufacturing, Inc.
(“ThyssenKrupp”l and Defendant Michael R. Sutton dfb/a dmcelevator.com (“Defendant”), the
Court hereby enters this Consent Injunction, ordering as follows:

1. Defendant, and any entity controlled or owned by or acting at the direction of
Defendant, is hereby permanently enjoined from improperly acquiring, and from utilizing,
distributing, offering for sale, and/or selling, any ThyssenKrupp Proprietary Information, other
than with the prior express written permission of '[hyssenKrupp. For purposes hereof,
ThyssenKrupp Proprietary Information shall include ThyssenKrupp’s Intelligent Managernent
System Tools; DMS software; any other ThyssenKrupp proprietary soi’cware; any confidential or
proprietary documentation manual or user’s guide relating to such software; and any other
confidential or proprietary information belonging to ThyssenKrupp that constitutes a “trade
secret” under Tenn. Code Ann. § 47-25-1702.

Thls document enterpc‘ on the docket sh l ce

wlth Rule 58 and .Bla, . ...`»." on

 

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2. Defendant, and any entity controlled or owned by or acting at the direction of
Defendant, is hereby permanently enjoined from improperly acquiring, and from distributing,
offering for sale, and/or selling, any infonnation, materials, documents or software that are or
have been derived or developed from ThyssenKrupp Proprietary Information, other than with the
prior express written permission of 'I`hyssenKrupp.

3. Defendant, and any entity controlled or owned by Defendant, is hereby
permanently enjoined h'orn (a) reproducing or copying by any means, (b) preparing derivative
works, and (c) distributing reproductions, copies, or derivative works, of any 'l`hyssenKrupp
Proprietary Information, other than with the prior express written permission of 'I'hyssenKrupp.
To the extent that Defendant has not already done so, Defendant shall, in the presence of an
authorized representative of ThyssenKrupp or as otherwise directed by ThyssenKrupp, delete,
destroy, or otherwise render unusable all 'I`hyssenKrupp Proprietary Information in his
possession, custody, or control, within five (5) business days of the entry of this Consent
Injunction.

4. Any request orr the part of Mr. Sutton concerning ThyssenKrupp Proprietary
Information, including the possession or handling thereof, shall be directed to undersigned
counsel for ThyssenKrupp. If ThyssenKrupp or its representatives do not respond affirmatively
within ten (10) business days to Mr. Sutton’s request, said request shall be deemed denied.

5. Nothing herein shall prevent Mr. Sutton from reviewing or analyzing material,
data or information of ThyssenKrupp that is (a) publicly available or (b) has been lawfully
acquired by Mr. Sutton or one of his clients without any obligation to maintain its confidentiality,

provided that any such actions are performed in compliance with paragraphs 1-3 hereof.

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6. If ThyssenKrupp believes or asserts that Defendant has committed a violation of
this Consent lnjunction, ThyssenKrupp shall give written notice to Defendant of any and all such
violation(s), with requisite details supporting such violation(s), before petitioning the Court for
any redress. Def`endant will thereafter have ten (10) days to address and, if possible, cure such
violation(s).

7. The Court shall maintain jurisdiction of this matter for the purpose of enforcing

the Consent Injunction.

rr Is HEREBY 0RDERED THIS c 20*" DAY oF QA_?&L, 2005.

 

United States District Judge

APPROVED AS TO FORM:

’D\All\_z

r)ouglas F. ‘Halijan
Attorney for Plaintifi`,
ThyssenKrupp Elevator Manufacturing Co., Inc.

 

 

Edward M. B al
Attorney for Def`endant, Michael Sutton

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-023l7 vvas distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

